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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

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CHAPTER 13 PLAN (Individual Adjustment of Debts)

 

 

 

 

 

[ia Original Plan
[| Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
[| Modified Plan (Indicate Ist, 2nd, etc. Modified, if applicable)
DEBTOR: Anibal Balbona JOINT DEBTOR: Meggie Balbona CASE NO. 19-2202] 0
SS#: xxx-xx- 3928 SS#: xxx-xx-5576
i NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

 

 

 

 

The valuation of a secured claim, set out in Section III, which may result ina ] tretwaca lia) Not ey

partial payment or no payment at all to the secured creditor ce [ _

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set [[] Included [a Not included

out in Section IIT =

Nonstandard provisions, set out in Section VIII [] Included [im] Not included
Il. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

 

A. MONTHLY PLAN PAYMENT; This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

[. $175.92 formonths | to 3;

 

2. $175.92 formonths 4 to 36 ;

B. DEBTOR(S)' ATTORNEY'S FEE: [J] NONE [] PROBONO

Total Fees: $3000.00 Total Paid: $2525.00 Balance Due: $475.00

Payable $158.33 /month (Months | to 3)

Allowed fees under LR 2016-I(B)(2) are itemized below:
$3,000 Chapter 13 Case,

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III, TREATMENT OF SECURED CLAIMS

A. SECURED CLAIMS: [im] NONE
[Retain Liens pursuant to 11 U.S.C. $1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
B. VALUATION OF COLLATERAL: [i] NONE

C. LIEN AVOIDANCE [{g] NONE

D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution fom the Chapter 13 Trustee.
[@] NONE

E, DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
fom the Chapter 13 Trustee,

[] NONE

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Debtor(s): Anibal Balbona, Mgeie Balbona _ Case number: 19-2202]
[mi] The debtor(s) elect to make payments directly to cach secured creditor listed below. The debtor(s) request that upon
confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to uny
codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor{s)' state law contract rights.

 

Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, ete.)
Celink 6694 25405 SW 126 Ct
1.

Homestead, FL 33032
IV, TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in [1 U.S.C. §507 and [1 U.S.C. § 1322(a)(4)]
A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [ij] NONE
B. INTERNAL REVENUE SERVICE: [@] NONE
C. DOMESTIC SUPPORT OBLIGATION(S): [i] NONE
D. OTHER: [ag] NONE
Vv. TREATMENT OF UNSECURED NONPRIORITY CREDITORS

A. Pay $158.33 ‘month (Months 4 to 36 )
Pay /month (Months to)

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
B. [] If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.

C. SEPARATELY CLASSIFIED: [a] NONE
*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to 1] U.S.C. § 1322.
VI. EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor’lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.
[-] NONE

[@] Unless provided for under a separate section, the debtor(s) request that upon confirmation of this plan, the automatic stay be
terminated in rem as to the debtor(s) and in rem and in personam as to any codebtor(s) as to these creditors, lessors. Nothing
herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

 

Name of Creditor Collateral Acct. No. (Last 4 Digits) Assume/Reject
World Omni Financial 2018 Toyota 0162

[a] Assume [7] Reject

 

VII. INCOME TAX RETURNS AND REFUNDS: ["] NONE

(wi) The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) com ply with S21(f) 1-4 onan
annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
increases by more than 3% over the previous year’s income. [Miami cases]

VIH. NON-STANDARD PLAN PROVISIONS [ij] NONE

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Debtor(s): Anibal Balbona, Mggie Balbona Case number: 19-2202 1

 

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

/s/ Anibal Balbona Debtor 9/10/2019 Joint Debtor
Anibal Balbona Date Mggie Balbona Date
/s/ Ricardo Corona, Esq. 9/10/2019

Attorney with permission to sign on Date

Debtor(s)' behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

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